05-44481-rdd   Doc 7965-22   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 1 of 28
05-44481-rdd   Doc 7965-22   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 2 of 28
05-44481-rdd   Doc 7965-22   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 3 of 28
05-44481-rdd   Doc 7965-22   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 4 of 28
05-44481-rdd   Doc 7965-22   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 5 of 28
05-44481-rdd   Doc 7965-22   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 6 of 28
05-44481-rdd   Doc 7965-22   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 7 of 28
05-44481-rdd   Doc 7965-22   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 8 of 28
05-44481-rdd   Doc 7965-22   Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 9 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 10 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 11 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 12 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 13 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 14 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 15 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 16 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 17 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 18 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 19 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 20 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 21 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 22 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 23 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 24 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 25 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 26 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 27 of 28
05-44481-rdd   Doc 7965-22    Filed 05/17/07 Entered 05/17/07 16:37:39   Exhibit Exh
                             A Part 7 of Aff Pg 28 of 28
